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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No. 16-cv-62205-BLOOM/Valle

 STEVEN HESS and
 NANCY MCLANE,

        Plaintiffs,
 v.

 SIMM ASSOCIATES, INC. and
 CALIBER HOME LOANS, INC.,

       Defendants.
 __________________________________/

                      FINAL ORDER OF DISMISSAL WITH PREJUDICE

        THIS MATTER is before the Court upon the parties’ Joint Stipulation of Dismissal with

 Prejudice (the “Stipulation”), ECF No. [41]. The Court having considered the Stipulation, and

 being otherwise duly informed therein, it is

        ORDERED AND ADJUDGED that the parties’ Stipulation, ECF No. [41], is

 APPROVED AND ADOPTED, and the above-styled case is hereby DISMISSED WITH

 PREJUDICE. Each party is to bear their own fees and costs. The Clerk is directed to CLOSE

 this matter.

        DONE AND ORDERED in Miami, Florida, this 22nd day of February, 2017.




                                                   ____________________________________
                                                   BETH BLOOM
                                                   UNITED STATES DISTRICT JUDGE
 Copies to: Counsel of Record
